           Case 3:12-cr-01677-BEN                        Document 66               Filed 09/10/12              PageID.293               Page 1 of 2


    "'.AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
               Sheet I



                                              UNITED STATES DISTRItlltl ~QtJRfM \: 31
                                                  SOUTHERN DISTRICT OF CAI1lFORNIA
                      UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For OfftW~.!f2!!lmi~Il.<:l.O!l. ()rAfter·November I, 1987)

                   ERNESTO RAMlREZ-OCAMPO(3)                                       Case Number: 12CRI677-BEN

                                                                                    DAVID J ZUGMAN
                                                                                   Defendant's Attorney
    REGISTRATION NO. 31815298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) TWO OF THE INFORMATION
    o was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Sedion                           Nature of Offense                                                                             Number(s)
8 USC 1326                            DEPORTED ALIEN FOUND IN THE UNITED STATES (FELONY)                                                    2




        The defendant is sentenced as provided in pages 2 through _--=2=--_of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o   Count(s)
                                                            ----------------------------------------
                                                                       0             is        areD dismissed on the motion of the United States.
 181 Assessment: $100.00 through the Inmate Financial Responsibility Program (IFRP) at the rate of$25.00 per quarter during the period of
     incarceration.


  181 Fine waived                                   o Forfeiture pursuant to order filed -------------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney ofany material change in the defendant's economic circumstances.




                                                                                                                                                12CR1677-BEN
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AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                           Judgment - Page    2    of       2
 DEFENDANT: ERNESTO RAMlREZ-OCAMPO(3)
 CASE NUMBER: 12CR1677.BEN
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a term of
         THIRTY (30) MONTHS



    181 Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau ofPrisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.    Dp.m.   on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before ---------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:
                                      _____________________________ to
         Defendant delivered on


 at ______________________ , with a certified copy of this judgment.


                                                                                         UNI1ED STATES MARSHAL

                                                                    By __________~~~~~~~~~~---------
                                                                                      DEPUfY UNI1ED STATES MARSHAL




                                                                                                                  12CR1677-BEN
